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                                                                          2025 Jun-09 PM 08:57
                                                                          U.S. DISTRICT COURT
                                                                              N.D. OF ALABAMA


           IN THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF ALABAMA
                    SOUTHERN DIVISION


BOBBY SINGLETON, et al.,

           Plaintiffs,                Case No.: 2:21-cv-1291-AMM

            v.                        THREE-JUDGE COURT

WES ALLEN, et al.,

           Defendants.

EVAN MILLIGAN, et al.,

           Plaintiffs,                Case No.: 2:21-cv-1530-AMM

            v.                        THREE-JUDGE COURT

WES ALLEN, et al.,

           Defendants.

MARCUS CASTER, et al.,

           Plaintiffs,                Case No.: 2:21-cv-1536-AMM

            v.

WES ALLEN, et al.,

           Defendants.


                   PARTIES’ JOINT STATUS REPORT
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      Pursuant to the Court’s May 28, 2025 Order (Milligan Doc. 494; Caster Doc.

405; Singleton Doc. 324), and subject to and without waiving any rights to appeal

the May 8, 2025 Order, the Parties hereby provide the following Joint Status Report:

      1.     Defendants represented to the Court and continue to represent to the

Court that the Special Master Plan 3 (the “SM Plan”) will remain in place for the

2026, 2028 and 2030 congressional elections (as well as all special or other

congressional elections prior to the adoption of a new congressional district map

based on 2030 census data), subject to Defendants’ rights on appeal. See Milligan

Doc. 493; Caster Doc. 404; Singleton Doc. 327.

      2.     Based on those representations, and while reserving all other appellate

rights, Defendants further represent here that they will not challenge on appeal the

duration of an injunction that requires the Secretary of State to use the SM Plan for

the 2026, 2028, and 2030 congressional elections (as well as all special or other

congressional elections prior to the adoption of a new congressional district map

based on 2030 census data).

      3.     Plaintiffs in the above actions agree that an injunction barring the

Secretary of State from administering Alabama’s congressional elections according

to the 2023 Plan and ordering him to administer congressional elections according

to the SM Plan, in accordance with the previous paragraph, is a full remedy to the

Section 2 violation identified by this Court in the May 8, 2025 Order.

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      4.     As to the Milligan Plaintiffs’ request for Section 3(c) relief and/or

continuing jurisdiction over potential challenges to a post-2030 census plan, the

Milligan Plaintiffs and Defendants have not come to an agreement that would

obviate the need for further briefing on those issues. Accordingly, the Defendants

and Milligan Plaintiffs intend to move forward with the briefing schedule established

in Milligan, Doc. 494.

             Respectfully submitted this 9th day of June 2025.




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                          CERTIFICATE OF SERVICE

      I hereby certify that on June 9, 2025, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of

such filing to counsel of record in this case.

                                 /s/ Deuel Ross
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